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                                                                           3:20-mj-167

STATE OF OREGON                         )
                                        ) ss: AFFIDAVIT OF CHRISTOPHER TAMAYO
County of Multnomah                     )



               Affidavit in Support of a Criminal Complaint and Arrest Warrant

         I, Christopher Tamayo, being duly sworn, do hereby depose and state as follows:

                               Introduction and Agent Background

         1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since 2013. I am assigned to the Pacific

Northwest Violent Offender Task Force where I am responsible for conducting fugitive and sex

offender investigations that result in arrest and prosecutions of individuals who are facing

criminal charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I

am authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States.

My training and experience includes completion of a California Peace Officer Standard Training

Academy, the Federal Criminal Investigator Training Program and the U.S. Marshals Service

Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia. I have

also attended additional training provided by other law enforcement entities relating to fugitive

investigations and sex offender investigations.

         2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Nathan ONDERDONK-SNOW. As set forth below, I have probable cause to believe that

ONDERDONK-SNOW committed an assault upon a federal officer, in violation of 18 U.S. Code

§ 111.




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       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,


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are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.      Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

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Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while preforming

their duties.

        7.      Specifically, on July 26, 2020, federal law enforcement officers attempted to

disperse a crowd on SW Salmon Street between 4th and 5th streets in Portland, OR. The crowd

was part of a protest that was declared an unlawful assembly by the Federal Protective Service

and a riot by the Portland Police Bureau. This occurred after violent opportunists destroyed the

security fence in front of the Mark Hatfield Federal Courthouse, and attacked law enforcement

officers by throwing hard objects, throwing explosive devices, and physically attacking them.

During the dispersal Deputy United States Marshal (DUSM) Victim 1, 2, and 3 were all dressed

in a clearly marked police tactical uniform and were wearing protective equipment to include a

gas mask, helmet, and body armor.

        8.      At approximately 0135 hours three DUSMs were walking as a group of officers

attempting to clear and disperse the street when they were approached by a subject later

identified as Nathan ONDERDONK-SNOW. While DUSMs were giving general orders to clear

the area ONDERDONK-SNOW shoved DUSM Victim 1 from behind with a blue shield. At the

same time DUSM 2 witnessed the assault and attempted to intervene by grabbing

ONDERDONK-SNOW with DUSM Victim 1. DUSM Victim 1 pulled ONDERDONK-

SNOW’s head down attempting to bring him to the ground with DUSM 2. In the process of


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trying to bring ONDERDONK-SNOW to the ground DUSM Victim 1’s gas mask was knocked

loose and he had to adjust the mask while DUSM 2 struggled with ONDERDONK-SNOW

alone. ONDERDONK-SNOW continued to lean forward while keeping his arms tight to his

waist preventing officers from gaining control. DUSM Victim 1 physically re-engaged the

subject to gain control of an arm. A third DUSM witnessed and assisted in the arrest until all

three DUSMs were able to gain control and restrain ONDERDONK-SNOW.

       9.       On July 26, 2020, I contacted ONDERDONK-SNOW in the United States

Marshals Service detention center at the Hatfield Courthouse. I identified myself as a Deputy

with the U.S. Marshals Service wearing my agency issued badge displayed on my duty belt and

advised ONDERDONK-SNOW of his Miranda Rights. ONDERDONK-SNOW stated that he

understood his rights but wanted to speak to a lawyer before making a statement.

       10.      On July 26, 2020, ONDERDONK-SNOW’s belongings were searched incident

to arrest and the following were found: green backpack filled with personal items such as first

aid kit, keys, and mask.




                                    Onderdonk-Snow’s possessions


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                                            Conclusion

       11.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Nathan ONDERDONK-SNOW assaulted a federal employee or officer, in violation of Title 18

U.S.C § 111. I therefore request that the Court issue a criminal complaint and arrest warrant

charging ONDERDONK-SNOW with that offense.

       12.      Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Chris Tamayo
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
    8:03 am/pm on July ________,
                          27     2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




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